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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

| Civil Action No. 3:19-cv-06601

Hon. Brian R. Martinotti
DEBENDRA SHARMA, Individually and on on. Brian K. Martinottt

Behalf of All Others Similarly Situated,

CLASS ACTION
Plaintiff,

v. MOTION DAY: May 20, 2019

AMARIN CORPORATION PLC, JOHN F.
THERO, and STEVEN KETCHUM,

Defendants.

 

RDER APPOINTING CO-LEAD PLAINTIFFS
AND APPROVING SELECTION OF COUNSEL

Upon consideration of the Joint Stipulation Resolving Pending Lead Plaintiff Motions, all
other pleadings and argument submitted to this Court, and for good cause shown,

IT IS HEREBY ORDERED THAT:

1, Dan Kotecki (“Kotecki”) and Gaetano Cecchini as Trustee of the Gaetano Cecchini
Living Trust (“Cecchini”) are APPOINTED to serve as Co-Lead Plaintiffs pursuant to Section
21D(a)(3)(B) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by
the Private Securities Litigation Reform Act of 1995, in this case and all related actions
consolidated pursuant to paragraph 3 of this Order.

2. Kotecki’s and Cecchini’s selection of Lead Counsel is APPROVED, and Faruqi &
Faruqi, LLP and Gibbs Law Group LLP are APPOINTED as Lead Counsel for the proposed class.

3. Pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, any subsequently
filed, removed, or transferred actions that are related to the claims asserted in the above-captioned

actions are CONSOLIDATED for all purposes within this action and are subject to this order.
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4, This action shall be captioned “Jn re Amarin Corporation ple Securities Litigation”

and the file shall be maintained under Master File No. 3:19-cv-06601.
5. Lead Counsel and counsel for Defendants shall meet and confer and shall, within
_seven days of the entry of an order appointing Lead Plaintiffs and approving the selection of Lead

Counsel, jointly propose a schedule for the filing of Plaintiffs’ amended complaint and the briefs

 

relating to Defendants’ anticipated motion to dismiss.

IT ISSO ORDERED.

Dated: LLA i , 2019
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HON. BEIAN MARTINOTTI _
UNITED STATES DISTRICT JUDGE
